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                   EXHIBIT A
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Date: Dec. 18, 2019
Name: Gloria Maria Ortiz de Naranjo
cc 32 485 676
To whom might be interested:
70 year old patient who after suffering 42 years of chronic lumbar pain was treated with [QCO?]
with decompressive laminectomy on L4 L5 and microdirectomy L4, L5, Left. Now the patient’s
clinical condition in general terms requires continuous check-ups in consultation with a doctor of
chronic osteomuscular pain, physiotherapy, alternative therapy, psychological aids and support
groups for which the patient needs her husband’s company.
Many thanks in advanced
Dr. Gabriela P. Vasquez Gerrero
